         Case 1:21-mc-00003-AJN Document 11 Filed 01/12/21 Page 1 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                  1/12/21



  Theda Jackson-Mau,

                         Plaintiff,
                                                                    21-mc-00003 (AJN)
                  –v–
                                                                          ORDER
  The Nature’s Bounty Co.,

                         Movant.

                  –v–

  Walgreen Co.,

                         Defendant.


ALISON J. NATHAN, District Judge:

       On January 4, 2021, Movant The Nature’s Bounty Co. initiated this miscellaneous case

by filing a motion to quash the subpoena issued to it by Plaintiff Theda Jackson-Mau in a case

currently pending before Judge Frederic Block and Magistrate Judge Vera M. Scanlon in the

Eastern District of New York. See Dkt. No. 1; see also Jackson-Mau, et al. v. Walgreen Co.,

Case No. 1:18-cv-04868 (FB) (VMS) (E.D.N.Y.). The Movant also filed a Rule 45(f) motion to

transfer to the Eastern District of New York its motion to quash the subpoena, see Dkt. No. 5.

The case was assigned to the Undersigned on January 5, 2021. On January 5, 2021, the Court

ordered the parties to meet and confer and propose a briefing schedule on the Movant’s motions,

and it also directed counsel for the Plaintiff and the Defendant to indicate to the Court whether

they opposed the motion to transfer. See Dkt. No. 7. On January 8, 2021, the parties filed a joint

letter that indicated, in relevant part, that “[n]o party will oppose Nature’s Bounty’s Rule 45(f)



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         Case 1:21-mc-00003-AJN Document 11 Filed 01/12/21 Page 2 of 3




motion to transfer this matter to the Eastern District of New York, where the underlying action is

pending.” Dkt. No. 9.

       Under Federal Rule of Civil Procedure 45(f), a court “may transfer a motion [to quash a

subpoena] . . . to the issuing court if the person subject to the subpoena consents.” The Movant’s

unopposed motion to transfer represents to the Court that “Nature’s Bounty is the party subject to

the subpoena and is the moving party here, making transfer permissible.” Dkt. No. 5 at 3; see

also Dkt. No. 1 at 2-3 (“On December 9, 2020, . . . Plaintiff served the Subpoena on nonparty

Nature’s Bounty. . . . The Subpoena . . . seeks deposition testimony across an expansive array of

topics pertaining to Nature’s Bounty’s products, business relationships, and practices . . . .”).

And because this subpoena relates to ongoing litigation before Judge Block and Magistrate Judge

Scanlon in the Eastern District of New York, the Court determines that they are significantly

better suited to decide this matter. See SBA Commc’ns Corp. v. Fractus, S.A., Case No. 19-mc-

130 (ER), 2019 WL 4879333, at *2 (S.D.N.Y. Oct. 3, 2019) (“[T]he Court finds that the Eastern

District of Texas is best-positioned to address the subpoena dispute given the nature of the

dispute and the posture and complexity of the underlying action.”). The Court therefore

TRANSFERS this motion.1




1
  Because Judge Block and Magistrate Judge Scanlon will be ruling on the Movant’s motion to
quash, this Court deems it proper to defer consideration of the parties’ proposed briefing
schedule to them. As a result, the Court will not set a briefing schedule on the Movant’s motion
to quash.
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        Case 1:21-mc-00003-AJN Document 11 Filed 01/12/21 Page 3 of 3




      The Clerk of the Court is respectfully directed to transfer this case to the Eastern District

of New York.

      SO ORDERED.

Dated: January 12, 2021
       New York, New York
                                                 ____________________________________
                                                           ALISON J. NATHAN
                                                         United States District Judge




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